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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    LADONNA LEE MOON
7
8                             IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )                   Case No. 1:13-cr-00362 AWI BAM (005)
                                )
12                   Plaintiff, )                  WAIVER OF DEFENDANT’S PERSONAL
                                )                  PRESENCE; ORDER THEREON
13        v.                    )
                                )
14   LADONNA LEE MOON,          )
                                )
15                   Defendant. )
                                )
16
17          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Ladonna Lee Moon, having been
18   advised of her right to be present at all stages of the proceedings, hereby requests that this Court
19
     proceed in her absence on every occasion that the Court may permit, pursuant to this waiver.
20
     Defendant agrees that her interests shall be represented at all times by the presence of her
21
     attorney, the Office of the Federal Defender for the Eastern District of California, the same as if
22
23   Defendant were personally present, and requests that this court allow her attorney-in-fact to

24   represent her interests at all times. Defendant further agrees that notice to Defendant's attorney

25   that Defendant's presence is required will be deemed notice to the Defendant of the requirement
26
     of her appearance at said time and place.
27
     ///
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1           Defendant makes this request because she resides in Boyd, Texas and she wishes to
2    minimize the time and expense involved in traveling to Fresno for non-substantive court
3
     hearings.
4
5
     DATED: November 22, 2013                                     /s/ Ladonna Lee Moon
6                                                                 LADONNA LEE MOON
7
8    DATED: November 22, 2013                                     /s/ Eric V. Kersten
                                                                  ERIC V. KERSTEN
9                                                                 Assistant Federal Defender
                                                                  Attorney for Defendant
10                                                                Ladonna Lee Moon
11
12
13
14                                                ORDER
15
16          Good cause appearing, IT IS HEREBY ORDERED that Defendant’s appearance may
17   be waived at any and all non-substantive pretrial proceedings until further order.
18
     IT IS SO ORDERED.
19
20
        Dated:     November 22, 2013                          /s/ Barbara A. McAuliffe          _
                                                       UNITED STATES MAGISTRATE JUDGE
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